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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 Just Funky, LLC,                               )   Case No. 5:21-cv-01127-SL
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )   Judge: Sara Lioi
                                                )
 Boom Trendz, LLC, Melissa Carpenter, and       )
 Deepak Tyagi,                                  )   REPORT OF PARTIES PLANNING
                                                )   MEETING
        Defendants.                             )
                                                )

       1.       Pursuant to Fed. R. Civ. P. 26(f) and LR 16.3(b)(3), a meeting was held

telephonically on August 16, 2021, and was attended by:

       Adam Primm, Counsel for Plaintiff Just Funky, LLC; and

       Kimberly Hall, Counsel for Defendant Boom Trendz, LLC and Melissa Carpenter.

       Carrie Dyer, Counsel for Defendant Deepak Tyagi.

       2.       The parties:

       ______ have exchanged the pre-discovery disclosures required by Fed. R. Civ. P. 26(a)(1)

and the Court’s prior order;

            X   will exchange such disclosures by August 24, 2021;

       ______ have not been required to make initial disclosures.

       3.       The parties recommend the following track:

                 X Expedited ___ Standard ___ Complex ___ Administrative ___ Mass Tort

       4.       This case is suitable for one or more of the following Alternative Dispute

Resolution (“ADR”) mechanisms:

                ____ Early Neutral Evaluation ____ Mediation ____ Arbitration
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               ____ Summary Jury Trial ____ Summary Bench Trial          X    Case not suitable for

               ADR

       5.      The parties ____do/ X       do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. § 636(c).

       6.      Recommended Discovery Plan:

               a.      Describe the subjects on which discovery is to be sought and the nature and

extent of discovery:

Plaintiff seeks discovery regarding: the formation and operation of Boom Trendz, LLC; the

sources and scope of Defendants’ contacts with current, former, and potential vendors, suppliers,

manufacturers, licensors, and customers; Defendants’ communications with current or former

employees of Plaintiff; Defendants’ access to, possession, and/or use of Plaintiff’s confidential,

proprietary information and trade secrets; an accounting of Defendants’ revenues; and any

information regarding Defendants’ violation of any restrictive covenants inuring to the benefit of

Plaintiff. Discovery is phased due to expedited requests for Preliminary Injunction hearing with

general discovery following Preliminary Injunction hearing.

The parties are exploring resolution at this time and, in furtherance thereof, at the instruction of

the Court, have engaged in informal discovery and ongoing settlement negotiations.

       7.      Recommended dispositive motion date: January 31, 2022.

       8.      Recommended expert discovery date:

               Expert report(s) by party initially seeking to introduce expert testimony

               recommended due date: January 3, 2022.

               Responsive expert report(s) due date: January 17, 2022.




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       9.     Recommended cut-off date for amending the pleadings and/or adding additional

parties: August 31, 2021.

       10.    Recommended date for Status Hearing: September 7, 2021.

       11.    Recommended date for Settlement Conference: December 13, 2022.

       12.    Other matters for the attention of the Court:



       Dated: August 16, 2021                       Respectfully submitted,

                                                    /s/ Adam E. Primm
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                                                    DANIEL CIANCHETTA (0089736)
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                                                    Attorneys for Plaintiff Just Funky, LLC


                                                    /s/ Kimberly L. Hall (via email consent)
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                                                    Kimberly L. Hall (0090677)
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                                                    LLC and Melissa Carpenter




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                                      /s/ Carrie J. Dyer (via email consent)
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2021, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt.



                                                      /s/ Adam E. Primm
                                                      ADAM E. PRIMM
                                                      One of the Attorneys for Plaintiff Just Funky,
                                                      LLC




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